              IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                3:98CR7-MU
                              )
          v.                  )
                              )
WILLIAM PATRICK MILLER,       )                    ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on the defendant’s

letter/motion to reconsider (Filing No. 459).          This case was

tried to a jury, and a verdict of guilty was returned on April 8,

1999 (Filing No. 209).       Defendant was sentenced on September 23,

1999 (Filing No. 270).

          This letter/motion is governed by Federal Rule of

Criminal Procedure 33(b).      Neither provision is applicable.

Defendant’s motion is untimely and will be denied.            Accordingly,

          IT IS ORDERED that defendant’s letter/motion to

reconsider is denied.

          DATED this 12th day of September, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




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